Stan T. WHITE
swhite@hooverhull.com

317.822.4400 x 109
February 1, 2012

VIA_E-MAIL

Kent Britt

Vorys, Sater, Seymour and Pease LLP
221 E. Fourth St.

Suite 2000, Atrium Two

Cincinnati, OH 45202

Re: Eastern Livestock’s Subpoena to Fifth Third Bank
Dear Kent:

Attached is a undated fax from David Fuller to Devon Morse regarding Eastern Livestock
along with a document entitled “Kiting Account Approval Form” dated May 27, 2009. The
documents are bates labeled FT014104 and FT014105. Fifth Third did not produce these
documents in response to the Trustee’s Subpoena Duces Tecum notwithstanding they are
responsive to several requests. See, e.g., Trustee’s Subpoena Request Nos. 1, 2, 7, 8, 17 and 18.
Fifth Third did however produce these documents to the Kentucky AG in connection with the
Metcalfe County indictment of Thomas Gibson, Grant Gibson, Stephen McDonald and Darren
Branger. Accordingly, we request the Bank to explain how this document was not produced to
the Trustee in response to his Subpoena and to supplement its production with any other
responsive documents immediately. In addition, we need to confirm the dates of depositions for
the Fifth Third employees otherwise, the Trustee will independently notice those depositions.

{look forward to your response.

CULE

Sean T. White
STW/vkw
Enclosure
cc! James A. Knauer (w/o encl., via e-mail)

John David Hoover (w/o encl., via e-mail)
614360_,1. DOCX/8728-1

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Lin MONUMENT SCIRGLE SUITE 4400 PLO. BOX 445989 INDIANAPOLIS, IN 66244-0989
PONT $17,.322.44990° Fax $17-622.0234 wee wwwelhooverhulllcom

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3725-1521 fax 913-590-8400
38 Fountain Square Place , 7
Cecnwat, Ob 45202 i Sicds Me Mel iae tc 10 8

For Tyo W far from: David Fuller
/
Phone: Date:

C Urgent For Review Piasse Camment 3 Please Reply O Please Recycte

FT014104
CONFIDENTIAL
Bank Protection
$002 Kingsley Drive MD IMOB23
FIFTH THIRD BANK Clocinnatl, OF 45263 Fac 513-358-5214

Kiting Account Approval Form

1 yl Semon & Hite Selle have reviewed the suspect activity on account number
HY Vs }a7F73}
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T understand the risk associated with this activity, but believe that based

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m the relationship it is in Fifth Third’s best interest to maintain this customer's accounts.

Business Case:
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le A de PF s LOG? _ Lhd di
{Oo A ALARA BAGS

Name: Bil 8 Name: Mike Spr
Signature: ive O Signature:

Date: 5727-049 Dae: E-277- OF

**Please fax to 513-353-3214"*

FTO014105
CONFIDENTIAL
